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                      EXHIBIT A
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    The Costs of Delivering Inhalation
       Drug Services to Medicare
              Beneficiaries



                                                         August 2004




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Executive Summary
This study examines the costs and Medicare Part B reimbursement for inhalation drug therapy
services provided to Medicare beneficiaries in their homes. In addition to the acquisition cost of
the drugs, which are only a small part of the total cost of providing inhalation drug therapy
services, other costs include pharmacy, labor, patient services, storage/warehousing, delivery,
billing and collections, licensing, accreditation, and regulatory compliance. The objective of the
study was to determine:
   •    The impact of changing the reimbursement system from average wholesale price (AWP)
        to average sales price plus six percent (ASP+6%); and
   •     The cost of those Medicare beneficiary services associated with inhalation drug services
        that will not be funded in the drug reimbursement in 2005.
To accomplish these objectives, we conducted a survey of the homecare pharmacy industry. The
survey was fielded between the end of May and middle of July 2004. A total of 109 pharmacies
responded representing 2,448 branch locations that provide respiratory and/or medical equipment
under Part B. Respondents were asked to submit data for one calendar quarter, preferably the
first quarter of 2004. These 2,448 branches provided inhalation drug therapy services to 337,348
Medicare beneficiaries per month. These Medicare beneficiaries were estimated to be 61 percent
of all Medicare inhalation drug therapy patients in the first quarter of 2004. The survey results
for direct patient care staff salaries were, on average, within approximately 1 percent of those
published by the Bureau of Labor Statistics (BLS).
           Chart 1: Cost of Prescription Drugs, Services, and Operating Margin for
                          Inhalation Therapy per Service Encounter

    $140.00
                      $123.73
    $120.00
                                              $107.32       Operating            Unfunded
                                Services                                                        $68.10
                                                            Margin        Operating Margin
    $100.00                     and
                                                            $16.68                   $4.74
                                Operating
                                Margin
       $80.00                   $95.46                                             Unfunded
                                                            Services
                                                                                    Services
                                                            $61.52
       $60.00                                                                         $63.37

                                                                                   Plus 6%
       $40.00                                                            $31.79    $1.80

       $20.00                   Rx Drugs                    Rx Drugs              Rx Drugs
                                $28.27                      $29.12                $29.99
        $0.00
                      2003*                  2004**                     2005***                2005****

   *Calculated using data from the Lewin and Muse Studies
   **AAHomecare Survey Completed by Muse & Associates, July 2004
   *** Projected Reimbursement of ASP plus 6 percent
   ****Projected Unfunded Services and Profit if no corrections are made




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The survey data in Chart 1 show that in order to maintain 2004 levels of service to Medicare
beneficiaries and provide an operating margin of 7 percent, an additional payment of $68.10 per
service encounter1 would have to be made by Medicare. According to the Notice of Proposed
Rule Making (NPRM), released on August 5, 2004, Medicare allowed charges for albuterol
sulfate and ipratroprium bromide were $1.3 billion in 2003. These payments will fall by 89
percent to approximately $140 million in 2005, a $900 million reduction. The payment of
$68.10 for services provided to Medicare beneficiaries would amount to $550 million in
Medicare allowed charges, or about 61 percent of the reduction in allowed charges for inhalation
therapy drugs. This results in approximately $350 million federal savings per year or more than
$4 billion over the 10-year scoring window. However, using another set of numbers contained in
the NPRM (total payments of $1.3 billion and an 89 percent reduction in these payments), the
savings would be $7.0 billion over the 10-year scoring window.




1
    A service encounter is defined as each instance the J-code is used to bill Medicare.




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Introduction/Background
Inhalation therapy covers a broad range of clinical services, products, and drugs associated with
the prevention, treatment, and management of myriad acute and chronic pulmonary disorders
such as chronic obstructive pulmonary disease (COPD), the fourth leading cause of death in the
United States. Demographically, COPD is a disease of the aged. Inhalation therapy is a critical
component of all health care delivery, including that which is administered in the home setting.

The procedures and associated costs of providing inhalation therapy services to Medicare
beneficiaries in their homes are very different from the services provided through retail
pharmacies. Unlike other pharmacotherapeutic products, inhalation therapy is significantly more
complex and requires more operational and administrative support than is found in retail
pharmacy settings.

The acquisition cost of the drugs is only a small part of the total cost of providing inhalation
therapy services to Medicare beneficiaries in their homes. Other costs, including pharmacy,
labor, patient services, storage/warehousing, delivery, billing and collections, and regulatory
compliance, account for the majority of the costs of providing inhalation therapy services.
Inhalation therapy cannot be furnished effectively without a specialized pharmacy operation and
adequate professional, administrative, and support personnel. In addition to the cost of the drugs,
the array of professional services required to guarantee that inhalation therapy drugs can be
safely administered in patients’ homes includes administration, delivery, education, oversight,
and monitoring.

The process of providing inhalation therapy services to Medicare beneficiaries in their homes
requires the following steps:

           •   Intake – Initial patient intake is an important component of inhalation therapy.
               The pharmacy must collect information on patient demographics, verify
               insurance, determine the clinical status of the patient, review the physician’s
               orders and assess the appropriateness of the care as well as the potential for drug
               interactions, therapeutic duplications, and drug allergies, and coordinate the start
               of care. The patient evaluation usually is based on clinical information obtained
               from a nurse’s or respiratory therapist’s assessment, communications with the
               physician and patient, the physician’s orders, analysis of laboratory test results,
               and other pertinent clinical information. Intake may or may not involve face-to-
               face contact with the patient.

           •   Compounding, Dispensing, and Pharmacy Assessment – While the majority of
               inhalation medications are commercially available, off-the-shelf products, some
               may require specific formulation or compounding. Compounding may be
               required to cut dosage, concentrate therapy time (and increase compliance),
               combine therapies, improve clinical outcomes, and/or reduce side effects.
               Compounding requires the use of sterile procedures, clean rooms, specialty
               training, quality assurance validation, etc. In fact, the U.S. Pharmcopiea (USP)




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       recently issued more stringent regulations for compounding which will increase
       suppliers’ costs.

   •   Delivery, Set-Up, and Patient Education – A home visit by a respiratory therapist
       or trained technician is required to set up and educate the patient on the use of the
       medical equipment used to nebulize the medications (including cleaning,
       disinfection, and maintenance). Appropriate written educational materials must
       be provided in multiple languages, per accreditation requirements. The visit will
       also include an assessment of the home environment (home safety, living space,
       caregiver support, functional status of the patient) and is conducted to initiate the
       start of care. The information collected will be entered into and maintained as
       part of the patient’s record. Initial visits may vary in length from 20 to 45
       minutes depending on the patient’s ability to understand the materials as well as
       the physical dexterity/mobility of the patient to use the equipment and
       medications in an appropriate manner.

   •   Follow-Up and Compliance Monitoring – There are no cures for COPD and the
       other medical conditions commonly treated through inhalation drug therapy. The
       therapy must be continuous and will last until the end of the patient’s life.
       Appropriate clinical monitoring is, therefore, essential to ensure the safe
       administration of inhalation drugs and to maintain quality of life to as high a
       degree as possible. At a minimum, patient monitoring should occur monthly.

       Monitoring patient compliance is imperative to achieve therapeutic effectiveness.
       Homecare pharmacies maintain ongoing programs to oversee patients’
       compliance and to ensure that patients receive appropriate refills of their
       prescriptions. The clinical literature supports the fact that good patient
       compliance is essential in reducing the frequency of disease state exacerbations
       and unanticipated hospital visits.

       Homecare pharmacies provide their patients with professional pharmacy and
       customer service staff availability on a 24/7 schedule. Some pharmacies use
       patient service representatives. Others use respiratory therapists to assess patient
       compliance. If compliance is less than desired, the respiratory therapist or a
       trained technician can identify the compliance issues, interact with the physician
       and pharmacist, and implement appropriate interventions.

   •   Quality Assurance, Accreditation, Licensing, and Regulatory Compliance –
       Homecare pharmacies are involved in a variety of quality assurance,
       accreditation, licensing, and regulatory compliance activities. These
       administrative and support services include quality improvement programs,
       utilization review, medical records management, coordination of insurance
       benefits, claims processing, medical waste management, personnel management,
       inventory control, orientation programs for employees, and clinical development
       and continuing education programs for management and staff. All homecare
       pharmacies must be licensed in every state in which they provide services and




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                 comply with Food and Drug Administration (FDA), state pharmaceutical board,
                 and other regulatory procedures.

            •    Medicare Billing and Compliance – The Medicare program requirements for
                 billing and compliance are extensive when compared to those of other payers.
                 Suppliers incur significant costs in complying with Medicare rules, especially
                 those pertaining to billing and documentation. Suppliers that bill the Medicare
                 program must comply with 21 supplier standards as well as documentation
                 requirements that are more extensive than those imposed by other payers. A
                 summary of Medicare billing and provider requirements compared to those of the
                 Department of Veterans Affairs and state Medicaid programs is presented in
                 Appendix B.

            •    Other Direct and Indirect Costs and Expenses – Homecare pharmacies incur
                 significant additional costs associated with furnishing home inhalation therapy,
                 including both direct and indirect operating and administrative costs and
                 expenses. These costs are extensive and include pharmacy operating costs
                 (personnel costs (e.g., pharmacists, technicians), warehouse, shipping,
                 computer/technical support, management), freight costs (typically overnight or
                 express delivery), facility costs (rent, utilities, telecommunications, capital
                 expenditures, maintenance), information systems, and other administrative
                 functions (quality improvement programs, accreditation, regulatory compliance,
                 professional liability insurance, and other overhead costs).

Only a licensed homecare pharmacy can provide this range of services and bill Medicare for the
drugs used in inhalation therapy.

In 2001, the Lewin Group published a study showing that the acquisition cost of the drug
component of inhalation drug therapy accounts for only 26 percent of the total costs of
furnishing inhalation drug services.2 In a follow-up study in 2003, Lewin found that the drug
costs for inhalation therapy account for 27 percent of the total cost of furnishing this therapy to
Medicare beneficiaries.3 The Lewin Group’s analyses demonstrate that homecare pharmacies
incur sizable operating and service costs in providing these drug therapies. Pharmacy, labor,
patient services, delivery, and other direct costs account for almost 39 percent of total costs.
Indirect costs, such as storage and warehouse, billing and collection, and regulatory compliance
programs make up another 29 percent of homecare pharmacy costs for inhalation therapies.

That homecare pharmacies incur significant operating and administrative costs beyond the
acquisition cost of the drugs is not at issue. These are necessary and legitimate business-related
costs associated with the provision of inhalation therapy services. The Medicare program
recognizes such costs in many other care settings. Unfortunately, homecare pharmacies cannot
bill the Medicare program directly for costs to provide the administrative and support services

2
  The Lewin Group, Product and Service Costs of Providing Respiratory and Infusion Therapies to Medicare
Patients in the Home, prepared for the American Association for Homecare, September 10, 2001.
3
  The Lewin Group, Operating and Service Costs of Providing Inhalation and Infusion Therapies to Medicare
Patients in the Home: 2003 Update, prepared for the American Association for Homecare, October 13, 2003.




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that are required. The question, therefore, is how to appropriately receive reimbursement for
these costs in the case of inhalation drug therapy services in the home.

The purpose of this study, which reflects current business practices, is to quantify the real costs
of providing inhalation therapy care to Medicare beneficiaries in their homes, including those
costs associated with the initial visit, ongoing visits, and the associated
administration/operational/overhead activities. The objective is to quantify all of the reasonable
costs associated with inhalation therapy and demonstrate to CMS the appropriate service add-on
to the new Medicare reimbursement methodology that will enable homecare pharmacies to
provide quality inhalation therapy services to Medicare beneficiaries in their homes. For the
purposes of this study, inhalation therapy is referring to drugs that are administered by
nebulizers.

Issue
Medicare Part B currently covers certain prescription drugs, including inhalation therapy
medications, which can be administered to Medicare beneficiaries in their homes. Unlike most
other types of drug administration, inhalation drug therapy requires an array of professional
services, including delivery, education, oversight, and monitoring, in order to guarantee that the
drugs can be safely administered in patients’ homes. Reforming payment for the drug
component of inhalation drug therapy without recognizing these administrative and operational
costs jeopardizes the health and safety of Medicare beneficiaries.

Until 2004, inhalation therapy drugs were reimbursed under the Medicare program at the average
wholesale price minus 5 percent (AWP-5%). Currently, they are being reimbursed at AWP-20
percent. Providers of in-home inhalation therapy services to Medicare beneficiaries have
traditionally used the spread between the actual acquisition costs of the drugs and AWP to pay
for the administrative and operational costs of delivering these services that are not directly
reimbursable under the Medicare program. The proposed changes to the method for reimbursing
Part B drugs contained in the Medicare Prescription Drug, Improvement and Modernization Act
of 2003 (MMA) do not adequately or appropriately recognize the administrative and operational
costs of providing inhalation therapy services to Medicare beneficiaries. Reimbursement at the
manufacturers average sales price (ASP) for respiratory drugs plus a six percent mark-up (ASP +
6%) is completely inadequate to meet these costs. As certain lines of business become less
attractive to home health care suppliers, services will be de-emphasized (if not actually
eliminated) and there will be fewer suppliers who offer these services. As a result, physicians,
hospital discharge planners, and others will have fewer options on who can provide the
continuum of care that patients require.

Survey Methodology
To provide inhalation drug therapy to Medicare beneficiaries and other patients, a supplier must
furnish a series of critical services. To identify the real costs of providing inhalation therapy
services to Medicare beneficiaries in their homes and to determine the appropriate adjustment to
the ASP+6 percent reimbursement methodology that is necessary to ensure high quality services,
a survey of the inhalation therapy pharmacy industry was conducted.




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One of the key objectives of this survey was to identify the services provided, determine how
much time it takes to provide the services, and quantify the cost of providing them. The first step
was to provide the overall context of how the services are provided to inhalation therapy patients.
We assumed that providing the required services to a patient just beginning a course of
inhalation drug therapy and a patient that has already been established on a course of therapy
would be inherently different, both in the nature of the specific tasks required and the amount of
time it takes to accomplish those tasks. Therefore, we created two distinct service definitions:

   •   Inhalation drug therapy services provided to new patients
   •   Inhalation drug therapy services provided to established patients (after the month in
       which they became a new patient)

The second step was to identify the specific tasks that suppliers need to perform for each
category of patient – new and established. With the assistance of recent surveys of respiratory
care suppliers, we identified various tasks inherent in providing services to patients using
nebulizers and inhalation therapy drugs. The following are the services provided to new
respiratory therapy patients:

       •   Clinical intake
       •   Establishing plan of care
       •   Care coordination
       •   Patient education
       •   Caregiver training
       •   Compliance monitoring
       •   In-home visits
       •   Delivery of services
       •   Billings/collections

The following are the services provided to established inhalation therapy patients:

       •   Revising plan of care
       •   Care coordination
       •   Patient education
       •   Caregiver training
       •   Compliance monitoring/refill calls
       •   In-home visits
       •   Delivery of services
       •   Billings/collections

With specific services identified by patient type, we asked the surveyed suppliers about the types
of individuals who provide these services to the patients and their families and how much time it
takes them. To assist the surveyed suppliers to focus on specific categories of personnel, we
suggested the following primary types of professional and other staff that would furnish the
services:




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   •    Pharmacist
   •    Pharmacy technician
   •    Pharmacy clerk
   •    Registered nurse
   •    Licensed practical nurse
   •    Respiratory therapist
   •    Other

We also asked the surveyed suppliers to specify any other types of staff they employ to furnish
these services.

A survey instrument (Appendix A) was developed to collect the relevant information.
Respondents were asked to describe the delivery of these services and to report their associated
operational costs for one calendar quarter, preferably the first quarter of 2004. Most respondents
were able to comply with this request. However, a small number of respondents submitted some
other time period. In addition, our survey asked whether there were other services provided to
either category of patients that were not specifically identified.

Data collected included type of pharmacy, number of locations (both pharmacies and respiratory
therapy/home medical equipment (RT/HME) branches), states served, number of personnel (by
category), personnel costs (by category), number of scripts filled, services provided and time
spent providing them, product costs, total revenues, revenues from inhalation therapy services,
and other direct and indirect costs. A cost allocation methodology was created to appropriately
assign the direct and indirect costs to the inhalation services component of homecare pharmacy
operations.

The survey was administered between the end of May and the middle of July 2004 to a diverse
national sample of approximately 900 homecare pharmacies. The sample included most of the
large national, multi-state homecare pharmacy suppliers as well as medium-sized regional
operations and small local pharmacies. Technical assistance by Muse & Associates staff (with
assistance from StateScape) was provided to answer questions about the study and to help
respondents complete the survey form.

A total of 109 completed surveys were received. The responding companies represent 2,448
RT/HME branches located throughout the fifty states, the District of Columbia, and Puerto Rico.
In the aggregate, the respondents reported that they served 337,348 Medicare beneficiaries who
used inhalation therapy services in their homes during an average month.

Analysis
Using the survey methodology discussed elsewhere within this report, Muse & Associates
identified multiple variables, such as cost, revenue, services, time, and personnel, associated with
inhalation drug services provided by homecare pharmacies. These variables help determine the
scope and cost of inhalation therapy services that are necessary to safely and efficiently
administer inhalation drugs to Medicare patients within their homes. With this data, policy




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makers and administrators will have a better understanding of the time, personnel, cost, and
scope of homecare pharmacies distributing inhalation drugs. Below, we have summarized the
key findings of our survey.

Access to Care in 2005

Access to services is a primary concern within the Medicare program. To assess the impact o the
new reimbursement methodology on homecare pharmacies, respondents were queried about
whether or not they would continue to provide inhalation therapy services to Medicare
beneficiaries in 2005 if reimbursement for respiratory drugs changes to ASP+6 percent and no
additional monies are available from Medicare to cover the costs of the additional operational
and administrative costs that are required. As shown in Table 1, of the 107 suppliers who
responded to this question, nearly 90 percent (N=95) reported that should the reimbursement
methodology change to ASP+6 percent and no other Medicare monies were available to offset
their additional costs, they would discontinue providing inhalation drugs to Medicare
beneficiaries. Fewer than 5 percent (N=4) said they would continue to provide inhalation
therapy drugs to Medicare beneficiaries at a financial loss and 7.5 percent (N=8) specified some
other business plan. Included among the other business plans were participants who said they
would continue to serve their customers at a loss in the hope that CMS would fix the
reimbursement issue. If not, they would be forced to discontinue services. Thus, access could
become a problem for Medicare beneficiaries in need of inhalation drug therapy services in their
homes if an appropriate add-on is not implemented to cover these additional operational and
administrative costs.

                                Table 1: Medicare Reimbursement Plan 2005
                                                                          Frequency   Percent
         Discontinue providing inhalation drugs to Medicare Beneficiaries     95       88.8
         Other                                                                8         7.5
         Continue care for patients at a financial loss                       4         3.7
         Total                                                               107       100

Type of Supplier

Homecare pharmacies were asked to identify the type of business they operate. The choices
included retail pharmacy, centralized/mail order pharmacy, and other. Other included a variety
of business operations (i.e., infusion centers). The respondents were further differentiated on the
basis of whether or not they provide durable medical equipment (DME). A total of 109
providers responded (Table 2).

                                        Table 2: Type of Supplier
                                                    With DME                 Without DME
                                              Frequency    Percent     Frequency      Percent
         Retail Pharmacy                          32         37.6           7          29.2
         Centralize/Mail Order Pharmacy           40         47.1          13          54.2
         Other                                    13         15.3           4          16.7
         Total                                    85         100           24          100




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Among respondents, approximately 78 percent (N=85) identified themselves as pharmacies with
DME and 22 percent (N=24) reported that they do not provide DME. Within each group, the
percentage distributions of type of supplier varied somewhat. For example, over 37 percent of
homecare pharmacies with DME claim to be retail pharmacies compared to approximately 29
percent of homecare pharmacy suppliers without DME. Conversely, fewer than half of
homecare pharmacy suppliers (47.1%) identified themselves as centralized/mail order
pharmacies whereas over half (54.2%) of the pharmacies with DME are so classified. The
“other” type of business operation accounts for 15.3 percent of the homecare pharmacies with
DME and 16.7 percent of those without DME.

Personnel and Average Salaries

To determine the size of and personnel costs associated with homecare pharmacy operations, the
survey asked participants to report on their number of employees and the average annual salary
per employee by type. Employees were divided into two groups, direct patient care and
managerial and support staff. Direct patient care staff included pharmacists, respiratory
therapists, registered nurses, licensed practical nurses, pharmacy technicians, pharmacy clerks
and other (i.e., respiratory technician). Included under management and support staff were
supervisors, billing staff, delivery/equipment maintenance staff, inventory and warehousing
workers, customer service/patient intake representatives, sales staff and other (i.e., administrative
support). The results were compared with average salary data compiled and reported by the U.S.
Bureau of Labor Statistics (BLS) and trended forward for inflation to 2004 using the Consumer
Price Index for Medical Care. The findings are presented in Tables 3a and 3b.


                                 Table 3a: Direct patient Care Staff Salaries
                                        Employee Count      Survey Average Salary   BLS Reported Salary*
  Pharmacist                                   307                 $81,134               $80,340
  Respiratory Therapists                      2,025                $45,084               $43,260
  Registered Nurses                             77                 $45,571               $52,530
  Licensed Practical Nurse                     101                 $29,976               $33,990
  Pharmacy Technicians                         472                 $25,561               $24,720
  Pharmacy Clerks                              182                 $20,307               $22,660
  Other                                        141                 $27,463
  * Bureau of Labor Statistics, 2003. Trended forward to 2004.



Table 3a reports findings for direct patient care personnel. In general, the average salaries
reported by survey respondents for direct patient care staff are similar (within 1 percent) to those
compiled from BLS. For some direct patient care categories, the average annual salaries for
survey respondents were slightly higher than those reported by BLS while for others, the
opposite is true. For example, among survey respondents, pharmacists average slightly more
than $81,000 in annual salary. The corresponding average salary reported by BLS is $80,340.
On the other hand, BLS reports that the average annual salary for pharmacy clerks is $22,660
compared to that reported by survey respondents of approximately $20,300.




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                              Table 3b: Managerial & Support Staff Salaries
                                          Employee Count      Survey Average Salary   BLS Reported Salary*
  Supervisory                                        1,516                 $59,287                 $40,576
  Billing                                            2,347                 $28,036                 $27,050
  Delivery                                           2,848                 $23,354                 $23,929
  Inventory/Warehousing                                135                 $24,472                 $19,768
  Customer Service/Patient Intake                    4,633                 $23,975                 $27,050
  Sales                                              1,862                 $47,107                 $81,151
  Other                                                539                 $49,093
  * Bureau of Labor Statistics, 2002. Trended forward to 2004

Table 3b reports average salary data for management and support staff. As in the previous table,
data obtained from BLS, trended forwarded by the CPI- U, provide a comparison. A cursory
review of the data in Table 3b suggests greater variation between average salary figures obtained
from survey respondents and those compiled by BLS for the managerial and support staff
categories. For example, results from the survey indicate that the annual salary for supervisors is
approximately $59,000. The BLS-reported annual salary for supervisors, $40,576, is
significantly lower. For sales staff, average annual salaries are higher in the BLS data reported
data than among survey respondents. Also, inventory/warehousing staff in the homecare
pharmacy industry have higher average salaries than are reported by BLS. None of these
findings is surprising, given that the survey respondents are drawn from a single industry with a
specific set of technical requirements whereas the BLS data cover all industries.

Scope of Medicare Respiratory Services

Homecare pharmacies provide medical services to a wide range of patients who are suffering
from a myriad of medical conditions. Inhalation therapy is only one segment of their total
operation. In order to understand the scope of inhalation therapy services and the proportion of
these services that are provided to Medicare beneficiaries, the survey asked respondents to report
their average monthly patient census, the number of inhalation therapy patients served monthly
and the number of Medicare inhalation therapy patients served monthly. These results are
presented in Table 4. As shown in Table 4, the average monthly patient census among survey
respondents was 680,627. About half of these patients (N=340,889) received inhalation drug
therapy during an average month. Among the group of patients receiving inhalation therapy
services, nearly 99 percent (N=337,348) were Medicare beneficiaries. These beneficiaries
represent approximately 61 percent of all Medicare beneficiaries who received inhalation therapy
during the first quarter of 2004.

                             Table 4: Scope of Pharmacy Respiratory Services
                       Average          # of Inhalation Drug    # of Medicare Inhalation
                     Monthly Patient       Patients served        Drug Patients served
                        Census                Monthly                  Monthly
                       680,627                 340,889                 337,348




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Branch Locations

The homecare pharmacy industry operational model consists of centralized pharmacies from
which the drug products are dispensed and a series of branch locations, discrete geographic
locations where inhalation drug support services, respiratory, and/or home medical equipment
are provided. During the first quarter of 2004, survey respondents reported that they operated
2,448 branches and served 442,463 patients (Table 5).


                                   Table 5: Branches and Services
                                                  # of Inhalation Drug
                                # of Branches       Services Patients
                                    2,448                442,463



Type of Delivery

Respondents were asked to report how they deliver inhalation therapy drugs to their patients. As
shown in Table 6, 72.5 percent of respondents ship inhalation therapy drugs through the mail or
use commercial overnight delivery services. Over twenty percent (20.5%) of respondents deliver
medications in person. About 6.5 percent reported that they are retail operations where the
patient must pick up the medications and 0.3 percent reported “other” or did not respond.


                                 Table 6: Type of Delivery by Percent
                                                       Deliver in
                       Mail/Ship          Retail        Person           Other
                         72.5              6.5           20.5             0.3



Total Prescriptions and Compounding

The products and procedures (and their associated costs) for providing inhalation therapy
services to Medicare beneficiaries in their homes often differ from those commonly provided
through retail pharmacies. While many inhalation therapy medications may not have any special
requirements in order for them to be dispensed properly, others may require special handling,
formulation, or compounding. To better understand the need for/use of compounding in
inhalation drug therapy, respondents were asked to report on the number of prescriptions
processed (both new and refills) during the first quarter of 2004 and the proportion of these
scripts that required compounding. In order to gauge the importance of Medicare to the
homecare pharmacy industry, we also asked respondents to differentiate between Medicare and
all other payers. Findings are presented in Table 7.




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                               Table 7: Total Prescriptions and Compounding
                                                                                  % of     % of Scripts that
                                                           Total      % of New   Refill        require
                               Payer Type                Scripts       Scripts   Scripts    Compounding
Small Pharmacies       Medicare Prescriptions            195,470          20.9    79.1           35.4
                       Other Prescriptions               296,166          28.7    71.3           16.6
                                              Total      491,636
Large Pharmacies       Medicare Prescriptions            927,523          18.3    81.7           17.5
                       Other Prescriptions                75,930          16.8    83.2           15.0
                                              Total 1,003,453
All Pharmacies         Medicare Prescriptions           1,122,993         20.6    79.4           20.6
                       Other Prescriptions               372,096          27.4    72.6           16.3
                                              Total 1,495,089
Small pharmacies have less than $10 million in total revenue per quarter.

The analysis begins by examining all suppliers. Examination of the data in Table 7 indicates
that, during the first quarter of 2004, respondents processed nearly 1.5 million prescriptions,
three-fourths of which were paid for by Medicare. Of the Medicare prescriptions, approximately
21 percent were new scripts and 79 percent were refills. In addition, nearly 21 percent of the
Medicare scripts required compounding. For all other payers, respondents indicated that 27.4
percent were new scripts and 72.6 percent were refills. Compounding was required for 16.3
percent of the scripts.

For the next part of the analysis, suppliers were divided into two groups: large (> $10 million in
total revenue per quarter) and small (< $10 million in total revenue per quarter). Large suppliers
processed just over 1 million prescriptions during the first three months of 2004, with Medicare
the responsible payer for over 90 percent of them, indicating the importance of the Medicare
program to large homecare pharmacy suppliers. Further examination of the data for large
suppliers shows that, when Medicare and other payers are compared, the same relative
proportions of scripts for each group are new versus refills and approximately the same
proportion of scripts required compounding.

Among small suppliers, Medicare accounts for only about 40 percent of the scripts (new and
refills) processed during the first part of 2004. This suggests that Medicare, while not
unimportant, is a less significant component of their overall homecare pharmacy operations.
Also, for small suppliers, a lower proportion of scripts processed were new and a larger
proportion refills compared to those for other payers. Interestingly, compounding was required
for a significantly larger proportion of Medicare scripts (35.4%) compared to those for other
payers (16.6%).

Compounding

Compounding requires additional, special handling when compared with off-the-shelf
pharmaceuticals. Specialized processing and handling requires additional staff time. To better
understand the additional staff resources that compounding requires, respondents were asked to
report the amount of time that is required for compounding inhalation drug prescriptions by
pharmacists, pharmacy technicians, and other pharmacy staff. This was done in order to provide




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information that could be used to determine the additional labor and overhead costs that are
required with these procedures, especially as provided to Medicare beneficiaries. Findings are
presented in Table 8.

                          Table 8: Staffing Time Required for Compounding
                                (average number of minutes per script)
                                                                   Pharmacy
                                                 Pharmacist       Technician        Other
                  Small Pharmacies                  20.4              22.9          13.2
                  Large Pharmacies                  12.9              13.7          10.8
                  Small pharmacies have less than $10 million in total revenue per quarter.

First, compounding drug prescriptions does take time. Depending on the type of staff involved,
compounding requires, on average, between 10 and 23 minutes of staff time per script.
However, the average amount of time required to compound a prescription varies by supplier
size. Regardless of type of staff, it takes less time for a large homecare pharmacy to compound a
prescription than it does for a small supplier. The difference in time required results from the
fact that large pharmacies use more sophisticated equipment (i.e., compounding machines),
which require a large capital investment that smaller pharmacies most likely cannot afford.
Therefore, the increased use of automated technology results in greater efficiencies for larger
homecare pharmacies.

Revenues by Source

To examine the revenue stream for inhalation drug services, respondents were asked to provide
information on their total gross revenues and revenues derived from inhalation therapy services
for the most recently available fiscal quarter. Revenues from inhalation therapy services were
further broken out by Medicare and other payers. Survey findings are presented in Table 9.




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                                        Table 9: Quarterly Revenue*
                        Small Pharmacies                    N         Sum            Average
        Total Gross Revenue                                  79     $93,568,765      $1,184,415
        Total Gross Revenue- Inhalation Drug Services
        (including dispensing fee)                           79     $29,255,459        $370,322
        Inhalation Drug Services- Medicare Gross
        Revenue (including Coinsurance & Deductibles)        79     $24,695,880        $312,606
        Inhalation Drug Services- All other Payers           66      $7,115,044        $107,804

                        Large Pharmacies                   N           Sum            Average
        Total Gross Revenue                                    8    $973,292,041    $121,661,505
        Total Gross Revenue- Inhalation Drug Services
        (including dispensing fee)                             8    $151,844,967     $18,980,621
        Inhalation Drug Services- Medicare Gross
        Revenue (including Coinsurance & Deductibles)          8    $140,094,665     $17,511,833
        Inhalation Drug Services- All other Payers             8     $11,850,361      $1,481,295

                         Total Pharmacies                  N            Sum           Average
        Total Gross Revenue                                 87     $1,066,860,806    $12,262,768
        Total Gross Revenue- Inhalation Drug Services
        (including dispensing fee)                          87      $181,100,426      $2,081,614
        Inhalation Drug Services- Medicare Gross
        Revenue (including Coinsurance & Deductibles)       87      $164,790,545      $1,894,144
        Inhalation Drug Services- All other Payers          74       $18,965,406        $256,289
        *First quarter 2004 or other three-month period.



As shown in Table 9, survey respondents reported total gross revenues from all lines of business
of nearly $1.1 billion for the quarter. Of total gross revenues for all lines of business, revenues
for inhalation drug services were approximately $181 million (17% of the total). Of the $181
million in revenues from inhalation drug services, Medicare accounts for 91 percent (about $165
million). Overall, Medicare is, by, far the most important payer in terms of the inhalation
therapy services among homecare pharmacy respondents, perhaps due to the nature of the age
group with COPD, for which these drugs are prescribed.

However, some variation occurs between large and small homecare pharmacy suppliers. In
general, large suppliers, because their revenues dominate the total, have the same revenue profile
as all homecare pharmacy respondents. First, they account for 91 percent of the total gross
revenues from all lines of business reported by respondents. Also, inhalation therapy services
account for 16 percent of their total gross revenues. Finally, of total gross revenues from
inhalation drug services, Medicare accounts for approximately 92 percent.

Smaller homecare pharmacy respondents account for 9 percent of total gross revenues from all
lines of business. Inhalation drug services constitute a much higher proportion of their total
business revenues (31%), nearly twice as high as among large homecare pharmacy respondents.
However, compared to large suppliers, Medicare accounts for a slightly lower proportion (84%)
of their inhalation therapy revenues.




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   Staff Time

   In addition to the cost of inhalation drug products, determining the amount of time it takes to
   serve an inhalation drug therapy patient is important to estimating the cost (both direct and
   indirect) of providing the required services to a Medicare beneficiary. Such information is
   critical to estimating the “add-on” to the average sales price (ASP) for the drug plus 6 percent
   that will allow the homecare pharmacies to recoup the real costs of providing inhalation drug
   therapy services. Accordingly, respondents were queried about the amount of time it takes to
   serve a typical new Medicare inhalation drug therapy patient during an initial encounter (i.e.,
   upon enrollment or during the first month) and for established patients (i.e., month 2 and
   beyond). Respondents were asked to submit information on the number of minutes spent by
   various staff for a set of direct and indirect services for a typical encounter for a new client and
   for an established patient.

   We estimate that the cost of providing the requisite set of inhalation drug therapy services to a
   new patient came to be $56.08. For established patients, the monthly cost was approximately
   $41.65. The sequence followed to calculate these values is discussed below.

   To arrive at the above estimates, we made the following assumptions and calculations:

        1. For each of the tasks in each patient category, we entered the total number of minutes
           each respondent reported for each task and calculated the average by task (Tables 10a,
           10b, 10c, and 10d).

                             Table 10a: Average Minutes by Service by Supplier for New Patients
                                                Pharmacy       Pharmacy                       Respiratory
                                  Pharmacist    Technician       Clerk      RN       LPN       Therapist    Other
Clinical intake (including
DUR & drug interaction)                 11.95         11.89        12.81    14.00     20.00         16.75     20.00
Establishing plan of care                9.75         10.93         7.67    18.60     19.00         14.08     12.50
Care Coordination                       10.03           9.3         9.23    14.60     17.14          9.73     12.13
Patient Education                        9.33         11.45         7.00    14.71      6.67         22.27     20.62
Caregiver training                       10.8         10.82         6.17    16.33     23.33         16.29     17.22
Compliance monitoring                    7.73          9.28         9.57    10.89     17.50         12.39     13.31
In-home visits                          17.86         20.38        20.00    27.00     21.25         36.91     24.86
Delivery of Services                     9.47         15.07        10.07    11.00     30.00         29.83     37.71
Billings/Collections                     8.42         11.71        19.91                            10.00     32.50
Other                                    5.57          7.33         9.20                            23.75     17.94




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                     Table 10b: Average Minutes by Service by Supplier for Established Patients
                                             Pharmacy        Pharmacy                         Respiratory   Other
                              Pharmacist     Technician        Clerk       RN        LPN       Therapist
Revising plan of care               8.11            9.95          7.79      9.00      20.00         17.15     12.33
Care Coordination                   7.79            7.21          6.40      9.50      20.00         10.36     10.78
Patient Education                   6.31            5.13          5.00      9.60      10.00         11.00      8.67
Caregiver Training                  6.08            6.69          2.33      9.50       7.50         10.65     17.50
Compliance
Monitoring/Refill Calls              8.48            8.05        11.33     11.44     13.33         11.69       9.05
In-home visits                      11.00           10.67         7.50     40.00     60.00         29.35      19.86
Delivery of services                 7.00           14.23         9.18     15.00     40.00         20.14      25.06
Billings/Collections                 5.00            8.75        19.31     10.00     60.00         13.57      22.56
Other                                4.60            5.00        12.67               60.00         10.00      18.93



                              Table 10c: Average Minutes by Service for New Patients
                                                                             Average
                           Services                                          Minutes
                           Clinical intake (including DUR & drug interaction)       15.3
                           Establishing plan of care                                13.2
                           Care Coordination                                        11.3
                           Patient Education                                        15.2
                           Caregiver training                                       14.0
                           Compliance monitoring                                    11.5
                           In-home visits                                           23.0
                           Delivery of Services                                     21.4
                           Billings/Collections                                    21.4
                           Other                                                    12.0
                                                                         Total     158.3



                                Table 10d: Average Minutes per Month by Service for
                                                 Established Patients
                                                                             Average
                                                 Services                    Minutes
                           Revising plan of care                                12.0
                           Care Coordination                                    10.3
                           Patient Education                                     8.0
                           Caregiver Training                                    8.6
                           Compliance Monitoring/Refill Calls                  10.5
                           In-home visits                                      23.3
                           Delivery of services                                 18.2
                           Billings/Collections                                18.7
                           Other                                                16.5
                                                                      Total    126.1




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2. To determine the cost of each task, we weighted the minutes reported for the task by the
   compensation per minute of the staff category that performed the task. We validated the
   responses by comparing them to salary levels for comparable professionals and others
   reported by the Bureau of Labor Statistics (BLS) trended forward to 2004 (see Tables 3a
   and 3b, above). To account for increases in inflation between 2002, the most recent BLS
   data year, and 2004, the date of the survey, we used the Consumer Price Index for
   Medical Care and applied an inflation factor of 3.7 percent to trend the BLS labor rates
   forward to 2004.

   As was previously discussed, it is apparent from this comparison that salaries of
   employees of homecare pharmacies that provide respiratory therapy services to Medicare
   beneficiaries are comparable with salaries for similar types of employee categories as
   surveyed by the BLS.

3. The direct costs associated with serving each category of patient was determined by
   summing the average costs for each of the individual tasks in each category (Tables 10e
   and 10f).

                Table 10e: Average Cost per Minute by Service for New Patients
                                                                   Average Cost
                                     Services                       per Minute
              Clinical intake (including DUR & drug interaction)       $4.91
              Establishing plan of care                                $4.30
              Care Coordination                                        $4.17
              Patient Education                                        $5.69
              Caregiver training                                       $5.19
              Compliance monitoring                                    $3.60
              In-home visits                                           $8.53
              Delivery of Services                                     $7.58
              Billings/Collections                                    $7.40
              Other                                                    $4.70
                                                             Total    $56.08


                  Table 10f: Average Cost per Minute per Month by Service for
                                       Established Patients
                                                                 Average Cost per
                                    Services                         Minute
              Revising plan of care                                   $3.81
              Care Coordination                                       $3.27
              Patient Education                                       $2.64
              Caregiver Training                                      $2.88
              Compliance Monitoring/Refill Calls                      $3.82
              In-home visits                                          $8.40
              Delivery of services                                    $6.24
              Billings/Collections                                    $6.72
              Other                                                   $3.85
                                                           Total     $41.65




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   4. To complete our estimation of the costs of providing inhalation drug therapy services to
      Medicare beneficiaries, it was necessary to determine an appropriate overhead factor that
      could be applied to the direct costs calculated in Step 3, above. Examples of overhead
      costs are: storage, warehousing, facility, sales, administration, insurance, depreciation,
      and interest. Such costs must be allocated proportionately across all lines of business and
      services.

       To compile the requisite information to calculate the overhead factor, the survey
       requested that respondents submit data on their operational costs. To determine the
       overhead factor, we subtracted total direct costs, including the direct costs of the drugs
       purchased by the pharmacy for their respiratory therapy patients, from total costs. The
       remaining costs are assumed to be overhead to the pharmacy.

       To calculate the overhead factor to be applied to direct patient costs, we determined the
       total cost for each respondent based on the cost information they reported. We removed
       direct patient care costs, billing costs, and the costs of the drugs from total costs to arrive
       at costs to be allocated to direct costs. For each respondent, we calculated the overhead
       costs to be allocated as a percentage of total direct costs. By averaging the percentages
       for all respondents, we determined the overhead factor to be 46.6 percent of total costs.

   5. The total costs for each patient category were calculated by applying the overhead factor
      to the average total direct costs for new and established patients (Tables 10e and 10f).
      The resulting calculations are:

                •         $82.21 [ $56.08 * 1.47 ] per encounter for new patients
                •         $61.06 [ $41.65 * 1.47 ] per encounter for established patients

Total Costs Associates with Inhalation Drug Therapy Services

The total costs associated with providing inhalation therapy services are a combination of direct
and indirect costs. Some of these costs can be captured directly at the pharmacy and branch
levels; others require a proportionate allocation from total company costs. To determine the total
costs to provide inhalation therapy, respondents were asked to complete a worksheet that
itemized their company’s direct and indirect costs for the inhalation drug therapy component of
their business for the first quarter of 2004.

As shown below, the aggregate cost of providing inhalation drug therapy services across all
respondents for the first quarter of 2004 totaled more than $182.6 million. This total is the sum
of the individual direct and indirect cost. They include:

            •       Cost of goods sold, including drugs and medication supplies (excluding
                    nebulizers and compressors)
                                                         $41,382,192          22.7%

            •       Pharmacy staff (salary and related costs for pharmacists and pharmacy
                    technicians)




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                                                     $16, 228,594            8.9%

            •   Direct patient costs: customer support (salary and related costs for all other
                personnel working directly with the pharmacy and direct branch personnel –
                customer service, delivery, respiratory therapy)
                                                      $38,202,247           20.9%

            •   Direct patient costs: delivery (pharmacy costs for freight and postage)
                                                     $9,759,198              5.3%

            •   Direct costs for storage/warehouse/facility: pharmacy facility and equipment
                rental costs, pharmacy utilities and telecommunications costs, branch facility and
                equipment rental costs, branch utilities and telecommunications costs
                                                       $8,155,132           4.5%

            •   Other direct costs: other direct pharmacy and branch costs (maintenance,
                training, travel, miscellaneous supplies)
                                                      $11,484,517           6.3%

            •   Billing and collection costs (including personnel costs)
                                                      $8,160,404             4.5%

            •   Indirect costs: sales/marketing (including personnel costs)
                                                     $19,798,394            10.8%

            •   Indirect costs: administration and insurance (field administration, overhead and
                insurance, quality assurance and accreditation)
                                                     $16,439,199            9.0%

            •   Indirect costs: depreciation and interest
                                                      $13,038,717            7.1%
                                     Total:          $182,648,594          100.0%

Reporting of bad debt was inconsistent. For those respondents who were able to identify bad
debt, it was approximately 1 percent of total revenue.


Determination of the Service Add-On
When the new reimbursement system goes into effect in 2005, a service add-on will be needed to
enable homecare pharmacy suppliers to continue to provide high quality inhalation therapy
services to Medicare beneficiaries in their homes and to recoup the operational and
administrative costs that it takes to provide these services. To calculate this add-on, we took
information obtained from the survey and applied the findings to actual Medicare program data.
The calculations are included in Appendix C.




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The first step in determining the service add-on, was to extract data from CMS’ 2002 5 Percent
Limited Data Set (LDS). This dataset, shown below in Table 11, consists of a 5 percent sample
of Medicare beneficiaries and all of their claims. From the 5 Percent LDS, we created a research
file that consisted of inhalation drug J-codes. However, because of the recent Notice of
Proposed Rule Making (NPRM), released August 5, 2004, we focused on the two inhalation
drugs, albuterol sulfate and ipratropium bromide, that dominate the utilization pattern.

                  Table 11: Albuterol Sulfate and Ipratropium Bromide Medicare Statistics
                Year        Patients       Services4           Units            Paid
                2002        875,300        7,706,580       1,449,624,340    $809,329,567
                2004*       908,877          8,002,212      1,505,233,379           $903,808,145
             * Trended forwarded for inflation
             Source: CMS 5 percent Limited Data Set (LDS), 2002

Using information from the survey, we determined that the cost for a new patient during an
initial service encounter was $82.21. The average cost per service encounter for an established
patient was $61.06. Excluding the cost of the drugs, this includes all of the remaining direct
patient care and overhead costs. (The drug costs are an additional $29.12 per service encounter
in 2004 and $29.99 in 2005.)

We applied the cost and time data from the survey to the information contained in the research
file to estimate total Medicare program expenditures for inhalation drug therapy services.
Trending the results forward to 2004, total reimbursement for inhalation therapy drugs, at AWP-
20 percent, would be approximately $904 million, including beneficiary coinsurance.

According to the 5 Percent LDS, a total of approximately 875,000 Medicare beneficiaries
received albuterol sulfate and/or ipratropium bromide during 2002. Trended forward to 2004
results in a total of 909,000 patients who were treated with albuterol sulfate and/or ipratropium
bromide under the Medicare program. Applying the new/established inhalation drug therapy
patient ratio (20.6%) from the survey results in approximately 187,229 new patients and 721,649
established patients in 2004.

Using the information compiled from the 5 Percent LDS data set on average number of service
encounters, we determined that the total cost per year for a new Medicare patient in 2004 is
$558.47 and for an established patient $537.32. Therefore, the annual costs to the Medicare
program to treat a new patient with albuterol sulfate and/or ipratropium bromide are
$104,562,140. For established patients, the cost is $387,755,036.

On January 1, 2005, the reimbursement rate will change from AWP-20 percent to ASP+6
percent, resulting in a true financial loss to homecare pharmacy suppliers of $492 million per
year based on current year estimates of drug prices and volume of services. This equates to a
loss of $61.57 per service encounter. In order to maintain current service levels along with a

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  A service encounter is defined as each instance the reimbursement code was billed to Medicare. Based on our
calculations, a typical Medicare beneficiary has 8.8 service encounters each year or one service encounter every 42
days.




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reasonable operating margin of 7 percent, we estimate, based on the survey responses, that the
appropriate service add-on would be $68.10 per service encounter.




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              Appendix A – Survey Instrument




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              Appendix A – Survey Instrument



   DO YOU NEED HELP
   WITH THIS SURVEY?
               If you have any questions, please call Jim

  Elliott at 888-787-2875 or email Jaclyn
Kuwada at jkuwada@muse-associates.com.




  Electronic Submission
      is Available!!!
      Please contact Jaclyn Kuwada at
       jkuwada@muse-associates.com
   for more information about submitting
             responses in Word.
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                      Medicare Reimbursement Study
             Sponsored by the American Association for Homecare

Please complete the following information. If you have any questions, please call Jim Elliott at 888-
787-2875 or email Jaclyn Kuwada at jkuwada@muse-associates.com or Steven Heath at
sheath@muse-associates.com.

Confidentiality

Muse & Associates will hold all responses in the strictest confidence. Individually identifiable
information will not be shared with anyone, including the American Association for Homecare. If you
would like a separate, written confidentiality agreement with Muse & Associates, please contact Jaclyn
Kuwada at jkuwada@muse-associates.com for more information.

Returning the Survey

Please mail the completed attached survey to Jaclyn Kuwada at Muse & Associates, 1775 I Street,
NW, Suite 520, Washington, DC 20006 in the enclosed envelope or email it to jkuwada@muse-
associates.com. Please return the survey by June 11, 2004 or contact Jaclyn Kuwada at
jkuwada@muse-associates.com if you need additional time. You may also fax it to 202-496-0201.

Please use data from First Quarter 2004 or your most recent information available.
            The following data are for the time period _____________ to _____________.

Question 1: Contact Information Please staple a business card, or complete the requested
information of the contact person for this survey.


                               Please Staple Business Card of Contact
                               Person(s) Here




                              or Complete the following information

           Pharmacy Name:
           First Name                        MI          Last Name

           Title

           Street Address 1

           Street Address 2

           City                              State       Zip

           Phone                                         Fax

           Email                                         Webpage



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Question 2: Medicare Reimbursement-2005 business plans If reimbursement for respiratory
drugs changes to Average Sales Price (ASP) plus 6% in 2005 and no other additional revenues are
available from Medicare, for Medicare beneficiaries you would:
                                                                                        (Check One)
                  Continue care for patients at a financial loss
                  Discontinue providing inhalation drugs to Medicare beneficiaries
                  Other (Please specify)




Question 3: Type of Company Please describe your home care pharmacy:

Pharmacy with DME                           (Check One)        Pharmacy without DME                     (Check One)

Retail Pharmacy (chain or independent)                         Retail Pharmacy (chain or independent)
Centralized/Mail Order Pharmacy                                Centralized/Mail Order Pharmacy

Other (please specify)                                         Other (please specify)




Question 4: Personnel and Average Salaries In order to determine the size and personnel costs
associated with your company, please complete the personnel table to the best of your ability. As you
do this, please include all employees, even those not associated with inhalation drug services. We will
allocate inhalation drug costs and revenue in future calculations and you will not need to do so in this
question. (Note: We realize that not all occupations have been listed. Please use the additional lines
to identify other employee categories used by your company OR attach a sheet with the additional
classifications you employ.) *Full time employee (1 FTE) works 40 hours per week. For example, if 2
part-time employees each work 20 hours per week, this would equal one FTE.
Managerial & Support staff categories are listed on the following page.

                                                          # of Employees    Average Annual Salary
                Direct Patient Care Staff (DPC)               (FTEs)*           per employee
              Pharmacists
              Respiratory Therapists
              Registered Nurses
              Licensed Practical Nurses
              Pharmacy Technicians
              Pharmacy Clerks
              Others (please specify)


                 Total Direct Patient Care Staff
                                         (DPC)




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                                                        # of Employees     Average Annual Salary
                Managerial & Support Staff (MS)             (FTEs)*            per employee
             Supervisory
             Billing
             Delivery (i.e., Service Representatives)
             Inventory and Warehousing
             Customer Service/Patient Intake
             Sales
             Others (please specify)


                   Total Managerial & Support Staff
                                              (MS)
                       Total Employees (DPC & MS)



Question 5: Pharmacy Location(s) and Scope of Medicare Respiratory Business In order to
better understand the scope of your business and its geographic service area, please fill out the chart
below. Pharmacy is defined as the location where inhalation drugs are dispensed.

                                                                           # of Medicare   States served by
                                          Average                            Inhalation       these sites
                            Location      Monthly        # of Inhalation   Drug patients    (please list the
                              (zip        Patients       Drug patients         served          states by
    Pharmacy Name            code)        Census        served monthly        monthly        abbreviation)
Example:
Jones Pharmacy                 14120             150                  50              40             NY, PA




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Question 6: Branch Location(s) and Scope of Medicare Respiratory Business In order to better
understand the scope of your business and its geographic service area, please fill out the chart below.
If you are an independent, single pharmacy, please fill in the columns for just your one location.
Branches are defined as discrete geographic locations where inhalation drug support services are
provided and/or RT/HME.

                                                                      # of Inhalation Drug
                         State               # of Branches
                                                                       Services Patients
           Alabama
           Alaska
           Arizona
           Arkansas
           California
           Colorado
           Connecticut
           Delaware
           District of Columbia
           Florida
           Georgia
           Hawaii
           Idaho
           Illinois
           Indiana
           Iowa
           Kansas
           Kentucky
           Louisiana
           Maine
           Maryland
           Massachusetts
           Michigan
           Minnesota
           Mississippi
           Missouri
           Montana
           Nebraska
           Nevada
           New Hampshire
           New Jersey
           New Mexico
           New York
           North Carolina
           North Dakota

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                                                                      # of Inhalation Drug
                       State                # of Branches
                                                                       Services Patients
           Ohio
           Oklahoma
           Oregon
           Pennsylvania
           Rhode Island
           South Carolina
           South Dakota
           Tennessee
           Texas
           Utah
           Vermont
           Virginia
           Washington
           West Virginia
           Wisconsin
           Wyoming



Question 7: Type of Delivery How do you deliver inhalation medication to your patients?

                                                  Mail/Ship             %
                                                      Retail            %
                                           Deliver in person            %
                                                      Other             %
                                                      Total         100%



Question 8: Total Prescriptions and Compounding Please fill in the table below with prescription
information about all prescriptions (all drugs) by payer type for First Quarter 2004, or with data for
the most recent period available. (Please note: Question #5 asks for number of patients by month,
whereas this question asks for the number of prescriptions in one quarter or your specified time
period.)

The following data are for the time period _____________ to _____________.


                                                                                 % of Scripts that
                                  Total        % of New         % of Refill
            Payer Type                                                               require
                                 Scripts        Scripts          Scripts
                                                                                  compounding
      Medicare Prescriptions
      Other Prescriptions
                         Total


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Question 9: Total and Source of Revenues Please complete the following questions based on your
revenue for the most recent quarter available. We are trying to determine your revenue stream for
inhalation drug services. Cell A asks for your entire company’s revenue for the quarter, even revenue
that is not inhalation drug related. Cell B narrows revenue to only inhalation drug services including
dispensing fees. Cells C & D split inhalation drug services revenue down to Medicare Gross revenue
and all other payers. Finally, Cells E, F & G focus on distributing Medicare Gross Revenue into
Government Revenue, Coinsurance & Deductibles from patients and other 3rd parties, and Sales
Adjustment and Bad Debt Write offs.

The following data are for the time period ___________ to __________

                                                                                                        Example
 Total Gross Revenue (entire company revenue)                                 A                         $100,000

 Of Total Gross Revenue

     Inhalation Drug Services (including dispensing fee)                      B                          $90,000

 Breakdown of Inhalation Drug Services
                                                                                     C+D=B
     Medicare Gross Revenue (including Coinsurance & Deductibles)             C                          $70,000

     All Other Payers                                                         D                          $20,000

 Breakdown of Medicare Gross Revenue
                                                                                         E+F=C
     Revenue directly from Government                                         E                          $50,000

     Revenue from Coinsurance & Deductible from patients and 3rd parties      F                          $20,000

     Negative Revenue from Sales Adjustments & Bad Debt Write Offs           G




Question 10: Staff time required for Compounding Prescriptions CMS might add a code for the
additional cost of compounding prescriptions. This question seeks to understand what additional
labor is required to compound prescriptions.

COMPOUNDING PRESCRIPTIONS Please Enter Average Minutes per Rx


                                                                            Pharmacy           Other
                  For Inhalation Drugs Only                    Pharmacist
                                                                            Technician    (please specify)
         Average Minutes to Compound Ingredients per Rx




                                                           6
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                                                                                            DRAFT- Not for Circulation- August 11, 2004
Question 11: Staff Time Required for New and Established Patients This question may be difficult to answer but is very important. CMS
needs reliable data to accurately set the amount they will pay for each new and existing patient encounter. Enter the number of minutes for a
typical Medicare respiratory patient during a typical encounter or attach your data.

NEW PATIENT SERVICES (Upon Admission or approximately Month 1) Please Enter Minutes
                                                                                                                                 Other (specify)
                                                                    Pharmacy     Pharmacy                         Respiratory
                         Service                       Pharmacist   Technician     Clerk      RN         LPN       Therapist
  Clinical intake (including DUR & drug interaction)
  Establishing plan of care
  Care Coordination
  Patient Education
  Caregiver training
  Compliance monitoring
  In-home visits
  Delivery of Services
  Billings/Collections
  Other (please specify)


ESTABLISHED PATIENT SERVICES (Month 2 and beyond) Please Enter Minutes
                                                                                                                                Other (specify)
                                                       Pharmacy      Pharmacy                                  Respiratory
                Service                 Pharmacist     Technician      Clerk         RN            LPN          Therapist
  Revising plan of care
  Care Coordination
  Patient Education
  Caregiver Training
  Compliance Monitoring/Refill Calls
  In-home visits
  Delivery of services
  Billings/Collections
  Other (please specify)


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Question 12: Allocation Formula for companies with Branches In order to estimate the total cost
incurred in providing inhalation drug services, we must allocate certain inhalation drug costs incurred
at the branch and overhead locations to the pharmacy business. The following question will be used to
develop the allocation formula for the branch and overhead costs identified in Question 13.

          The following data are for the time period ___________ to __________.

* Allocation Formula: To calculate percent of Sales Allocated to Inhalation Drug Services, divide Inhalation Drug
Net Sales by Company Net Sales.
        Inhalation Drug Net Sales ($)
         (Net sales after any contra-revenue adjustments- contractual allowances, etc.)
        Company Net Sales ($)
         (Net sales after any contra-revenue adjustments- contractual allowances, etc.)
       *Percent of Sales Allocated to Inhalation Drug Services (%)                                      %

Question 13: Costs associated with Inhalation Drug Services Please fill out the following table. Some
costs associated with the inhalation drug business may be captured directly at the pharmacy level, while other
branch and overhead costs require an allocation. For ease and uniformity of data entry we have supplied the
formula we would like you to use (see Question 12). Where indicated by an asterisk (*), please use the
Allocation Percentage from Question 12. However, if you know the costs associated with your branches, it
is not necessary for you to use the allocation formula. Boxes filled in black do not need to be answered.



              The following data are for the time period ___________ to __________.
                                                                                                        Company Costs
                                                                                                          Allocated to
                                                                               Total Company            Inhalation Drug
Cost of Goods Sold:                                                                Costs                   Business
  Cost of Drugs
  Cost of Medication Supplies
  (excluding nebulizers and compressors)
                                                 Total Cost of Goods Sold                           =


Pharmacy Staff:
  Total Pharmacy Personnel
  (Salary & Related-Pharmacists and Pharmacy Technicians)
                                                Total Pharmacy Personnel                            =


Direct Patient Costs: Customer Support
  Pharmacy Personnel
    (Salary & Related- All other personnel working directly with pharmacy)
  *Direct Branch Personnel
    (ie. Customer Service, Delivery, Respiratory Therapy)
      * Multiply Total Company Costs by the Allocation Percentage (%)
       from Question 12 and insert calculation in Company Costs
       Allocated to Inhalation Drug Business*
                                                 Total Direct Patient Costs                         =



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                                                                                                      Company Costs
                                                                                                        Allocated to
                                                                                  Total Company       Inhalation Drug
Direct Patient Costs: Delivery                                                        Costs              Business
  Freight- Pharmacy
  Postage- Pharmacy
                                               Total Direct Delivery Costs                        =

Direct Costs: Storage/Warehouse/Facility
  Rent (Facility, Equip) - Pharmacy
  Utilities & Telecomm - Pharmacy
  *Rent (Facility, Equip) - Branch
  *Utilities & Telecomm - Branch
      *Multiply Total Company Costs by the Allocation Percentage (%)
      from Question 12 and insert calculation in Company Costs
      Allocated to Inhalation Drug Business.
                                                Total Direct Facility Costs                       =

Other Direct Costs:
  Other Direct Pharmacy Costs (i.e. maintenance, training, travel,
  miscellaneous supplies)
  *Other Direct Branch Costs
     *Multiply Total Company Costs by the Allocation Percentage (%)
     from Question 12 and insert calculation in Company Costs
     Allocated to Inhalation Drug Business.
                                                 Total Other Direct Costs
                                                                                                  =

Billing & Collection Expenses
  *Total Billing/Collection Costs (including personnel costs)
      *Multiply Total Company Costs by the Allocation Percentage (%)
      from Question 12 and insert calculation in Company Costs
      Allocated to Inhalation Drug Business.
                                            Total Billing/Collections Costs                       =

Indirect costs- Selling
  Selling – Direct (pharmacy- including personnel costs)
  *Selling – Allocated (branches- including personnel costs)
     *Multiply Total Company Costs by the Allocation Percentage (%)
     from Question 12 and insert calculation in Company Costs
     Allocated to Inhalation Drug Business.
                                                   Total Selling Expenses                         =

Indirect Costs: Administration & Insurance
  *Total Company Field Administration
  *Total Corporate Overhead & Insurance (including personnel)
  *Quality Assurance and Accreditation
      *Multiply Total Company Costs by the Allocation Percentage (%)
     from Question 12 and insert calculation in Company Costs
     Allocated to Inhalation Drug Business.
                                         Total Administration & Insurance     =                   =

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                                                                                                  Company Costs
                                                                                                    Allocated to
                                                                              Total Company       Inhalation Drug
Indirect Costs: Depreciation & Interest                                           Costs              Business
 *Total Company Depreciation
 *Total Company Interest Expense
    *Multiply Total Company Costs by the Allocation Percentage (%)
   from Question 12 and insert calculation in Company Costs Allocated
   to Inhalation Drug Business.
                                          Total Depreciation & Interest   =                   =

          Thank you for participating in this survey. If you would like to see the results and
          analysis from the data, please contact Jaclyn Kuwada at jkuwada@muse-
          associates.com.

             Please return the survey by June 11, 2004 or contact Jaclyn Kuwada if you need
                                            additional time.




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  Appendix B – Summary Comparison of Medicare, Medicaid and
     Department of Veterans Affairs Provider Requirements
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      Appendix B – Summary Comparison of Medicare, Medicaid and
         Department of Veterans Affairs Provider Requirements

                 SUMMARY COMPARISON OF MEDICARE,
          MEDICAID, AND THE DEPARTMENT OF VETERANS AFFAIRS
                       PROVIDER REQUIREMENTS


MEDICARE PART B PROVIDER REQUIREMENTS

•    Medicare providers must have a physician’s verbal order and a physician’s original,
     signed prescription on file.
•    Medicare providers must follow-up with the patient before dispensing drugs to ensure
     that the patient does not have any more than one month’s supply at any time.
•    Medicare providers must ensure that the patient has the necessary equipment to
     nebulize or infuse the drugs. The patient must qualify under Medicare’s guidelines.
•    Medicare providers must submit a claim to Medicare whether accepting assignment
     or not.
•    Medicare providers must bill a 20% co-payment to the beneficiary or submit a
     secondary claim to an insurance company. If the patient does not have a secondary
     insurance and cannot pay privately, the provider must determine if the patient is
     financially unable to pay the 20%. Once assessed (and usually after the service and
     drugs have been delivered), the provider possibly has to write off the co-payment
     dollars to bad debt or charity care.
•    It is not uncommon for up to 10% of claims to be denied by Medicare even if the
     patient qualifies. If this happens, a provider has to re-file the claim or submit it
     through the review process, which takes anywhere from 45 to 120 day to get paid.
•    Medicare providers are required by law to pursue the $100.00 Medicare deductible
     from the patient.
•    National Medicare providers have the same policy nationwide.
•    Medicare requires proof of delivery.
•    Assignment of Benefit (AOB) forms are required prior to the provider submitting the
     claim.


MEDICAID

•    Medicaid prescription requirements vary from state to state; some programs only
     require a verbal order from the physician.
•    Medicaid providers are reimbursed directly by Medicaid at 100% of the allowable.
     Providers do not have to pursue any co-payments.
•    Medicaid programs do not have an annual deductible.
•    State Medicaid pharmacies receive immediate electronic approval or rejection of the
     claim and the claim can be resubmitted immediately.
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      Appendix B – Summary Comparison of Medicare, Medicaid and
         Department of Veterans Affairs Provider Requirements

•    No Assignment of Benefits (AOB) is required to be signed by the Medicaid
     beneficiary.
•    Medicare supplier standards do not have to be met.


DEPARTMENT OF VETERANS AFFAIRS

•    VA’s non-profit status and volume purchasing power enables it to purchase albuterol
     at significantly lower prices that are afforded either the retail or the homecare class of
     trade.
•    There are no written prescription requirements.
•    No Assignment of Benefits (AOB) is necessary.
•    No proof of delivery requirements is delineated.
•    Medicare supplier standards do not have to be met.
•    VA pays separately for pharmacy operating expenses.
•    Little to no delivery expenses is incurred.
•    No billing of co-payment amounts.
•    No billing of deductibles.
•    No third party collection efforts.
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       Appendix C – Calculations for Service Add-on
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                  Appendix C- Calculations for Service Add-On

Number of Patients in 2004
Number of Patients in 2004*                                                            908,877
Percent of Patients Who are New**                                                       20.6%
Number of New Patients                                                                 187,229
Number of Established Patients                                                         721,649

Cost of Services
Cost per Service Encounter for New Patients**                                            $82.21
Cost per Service Encounter for Established Patients**                                    $61.06
Total Service Cost of New Patients                                                 $104,562,140
Total Service Cost of Established Patients                                         $387,755,036
Total Cost of Inhalation Drug Therapy Services                                     $492,317,177

Cost of Drugs
Total Cost of Drugs***                                                             $232,999,626

Reimbursement in 2004
80% of AWP Including Coinsurance*                                                  $903,808,145

Impact of MMA in 2005 (aggregate)
Total Cost of Providing Inhalation Drug Therapy                                 $747,076,306
Total Reimbursement at ASP + 6 %***                                             $254,388,991
Operating Margin                                                              ($492,687,315)

Impact of MMA in 2005 on the Typical Patient
Total Cost of Providing Inhalation Drug Therapy                                         $821.98
Total Reimbursement at ASP + 6 %                                                        $279.89
Operating Margin                                                                      ($542.08)

Correction
Operating Margin Per Service Encounter                                                 ($61.57)
7% Operating Margin Per Service Encounter                                                 $6.54
Payment Per Service Encounter to Provide Adequate Coverage of
                                                                                        $68.10
Services Provided and a Reasonable Profit Margin

* Source: Center for Medicare and Medicaid Services, 2002 5% Limited Data Set, inflated forward by 1.9% per year
** Source: AAH Survey conducted by Muse & Associates, July 2004.
*** Calculated from the Federal Register, August 5, 2004, page 1088, the 5% LDS.
